
Philip E. Hirschkorn, Respondent,
againstJeremy S. Goldman, Appellant.




Jeremy S. Goldman, appellant pro se.
Philip E. Hirschkorn, respondent pro se.

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Adam Silvera, J.), entered May 19, 2016. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $3,850 and dismissed defendant's counterclaim.




ORDERED that the judgment is affirmed, without costs.
Plaintiff commenced this small claims action to recover a $4,850 deposit he had given defendant in connection with an agreement to sublease defendant's cooperative apartment for one year. Defendant counterclaimed to retain the deposit and to recover an additional $1,003.70 for alleged damages exceeding the amount of the deposit. After a nonjury trial, the Civil Court awarded plaintiff the sum of $3,850 and dismissed the counterclaim.
In a small claims action, this court's review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (CCA 1807; see CCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125 [2000]). Furthermore, the determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility (see Vizzari v State of New York, 184 AD2d 564 [1992]; Kincade v Kincade, 178 AD2d 510, 511 [1991]). This deference applies with greater force to judgments rendered in the Small Claims Part of the court (see Williams v Roper, 269 AD2d at 126). Upon a review of the record, we find that the judgment rendered substantial justice between the parties (see CCA 1804, 1807; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125 [2000]). 
Accordingly, the judgment is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.

ENTER:Paul KennyChief ClerkDecision Date: May 04, 2018










